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                        UNITED STATES BANKRUPTCY COURT
                            DISTRICT OF CONNECTICUT



In re:

         Michael Porzio
              Debtor(s)                                     Case No. 23-50193 (JAM)



         Michael Porzio
              Plaintiff(s)                                  Adversary No. 23-5014

                V.

         Linda St. Pierre, et al.
               Defendant(s)


                 ORDER DISMISSING ADVERSARY PROCEEDING

          On August 18, 2023, an Order Dismissing Case entered on Bankruptcy Case

23-50193, see ECF No 61. Therefore, the Court’s jurisdiction over all

proceedings therein having terminated, it is hereby

          ORDERED that the above-captioned adversary proceeding is DISMISSED

for lack of jurisdiction.

                        Dated at Bridgeport, Connecticut this 18th day of August, 2023.
